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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

LEROY PERNELL,
et al.,

             Plaintiffs,
v.                                            Case No.: 4:22cv304-MW/MAF


FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY
SYSTEM, et al.,

          Defendants.
_________________________/

               ORDER DENYING MOTION TO
     COMPEL COMPLIANCE WITH PRELIMINARY INJUNCTION

      This Court has considered, without hearing, Plaintiffs’ motion to compel

compliance with this Court’s preliminary injunction, ECF No. 86, and Defendants’

expedited response, ECF No. 88. Although this Court would not hesitate to compel

compliance with its preliminary injunction, this Court finds there has been no

violation of the injunction at this time. Accordingly, Plaintiffs’ motion, ECF No. 86,

is DENIED.

      SO ORDERED on January 12, 2023.

                                       s/Mark E. Walker
                                       Chief United States District Judge
